                                                                      Case 2:16-cv-00691-MMD-EJY Document 126 Filed 05/06/20 Page 1 of 2




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                                                             7   Attorneys for Bank of America, N.A.
                                                             8                                 UNITED STATES DISTRICT COURT
                                                             9                                         DISTRICT OF NEVADA
                                                            10   BANK OF AMERICA, N.A.,                            Case No.: 2:16-cv-00691-MMD-EJY
              1635 VILLAGE CENTER CIRCLE, SUITE 200

               TEL.: (702) 634-5000 – FAX: (702) 380-8572




                                                            11                    Plaintiff,
                                                                 v.
                      LAS VEGAS, NEVADA 89134




                                                            12
AKERMAN LLP




                                                                 SPANISH       BAY        HOMEOWNERS               MOTION TO REMOVE ATTORNEY
                                                            13   ASSOCIATION; NEVADA ASSOCIATION                   FROM ELECTRONIC SERVICE LIST
                                                                 SERVICES, INC.; SFR INVESTMENTS POOL
                                                            14   1, LLC,
                                                            15                    Defendants.
                                                            16

                                                            17   SFR INVESTMENTS POOL 1, LLC, a Nevada
                                                                 limited liability company,
                                                            18
                                                                                  Counterclaimant,
                                                            19   v.

                                                            20   BANK OF AMERICA, N.A., BANK OF
                                                                 AMERICA, N.A., SUCCESSOR BY MERGER
                                                            21   TO BAC HOME LOANS SERVICING, LP FKA
                                                                 COUNTRYWIDE         HOME      LOANS
                                                            22   SERVICING, LP; and JAMES CARLSON, an
                                                                 individual,
                                                            23

                                                            24                     Counterdefendants.

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                                                             1   TO:          ALL PARTIES, AND THEIR COUNSEL OF RECORD:

                                                             2                PLEASE TAKE NOTICE that Tenesa S. Powell, Esq., is no longer associated with the law

                                                             3   firm of Akerman LLP and requests that Ms. Powell be removed from the service list.

                                                             4                Akerman LLP continues to serve as counsel for Bank of America, N.A. in this action. All

                                                             5   items, including, but not limited to, pleadings, papers, correspondence, documents and future notices

                                                             6   in this action should continue to be directed to Darren T. Brenner, Esq. and Holly E. Walker, Esq.

                                                             7                DATED this 4th day of May, 2020.

                                                             8                                                   AKERMAN LLP
                                                             9                                                   /s/ Holly E. Walker
                                                                                                                 DARREN T. BRENNER, ESQ.
                                                            10
                                                                                                                 Nevada Bar No. 8386
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                                                                                                                 Las Vegas, Nevada 89134
                                                            13
                                                                                                                 Attorneys for Bank of America, N.A.
                                                            14

                                                            15                                               COURT APPROVAL
                                                            16                IT IS SO ORDERED.
                                                            17                Date: May 6, 2020
                                                            18                                                           ___________________________________
                                                            19                                                           UNITED STATES MAGISTRATE JUDGE
                                                                                                                         2:16-cv-00691-MMD-EJY
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